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                                         fIN THE UNITED STATES DISTRICT COURT
                                         FOR THE NORTHERN DISTRICT OF TEXAS
                                                   AMARILLO DIVISION



BRITTANEY BAILEY,                                          §
on behalf of herself and all others                        §
similarly situated,                                        §
                                                           §
             Plaintiff,                                    §
                                                           §
v.                                                         §       2:17-CV-77
                                                           §
HOWBRO INVESTMENTS, LTD., d/b/a                            §
BUFFALO WILD WINGS, et al.,                                §
                                                           §
             Defendants.                                   §


                                         AMENDED RULE 16 SCHEDULING ORDER

             The Original Rule 16 Scheduling Order entered May 26, 2017, and modified by the Court’s

November 30, 2017 Order Granting Joint Motion for Continuance, is hereby amended as follows:

             The parties shall attempt to resolve this case through mediation on or before June 22,
             2018.

             A mediation report shall be submitted to the Court within one (1) week of the
             conclusion of the mediation.

             If this case is not resolved pursuant to mediation, this case will be set for trial on
             August 27, 2018 by separate Order.

These deadlines are firm and shall not be modified except by leave of Court upon a detailed factual

showing of good cause.

             IT IS SO ORDERED.

             ENTERED April 13, 2018.




                                                        LEE ANN RENO
                                                        UNITED STATES MAGISTRATE JUDGE

CIV\217-77-BAILEY\AMENDED SCH ORDER.:2
